












Dismissed and Memorandum Opinion filed February 4, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-01029-CR

____________

&nbsp;

LEON COVARRUBIAS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 179th District Court

Harris County, Texas

Trial Court Cause No. 1232207

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a “guilty” plea to aggravated assault. In
accordance with the terms of a plea bargain agreement with the State, the trial
court sentenced appellant on November 23, 2009, to confinement for four years
in the Institutional Division of the Texas Department of Criminal Justice. &nbsp;We
dismiss the appeal.&nbsp; 

The trial court entered a certification of the defendant’s
right to appeal in which the court certified that this is a plea bargain case,
and the defendant has no right of appeal. &nbsp;See Tex. R. App. P. 25.2(a)(2). &nbsp;The trial court’s
certification is included in the record on appeal.&nbsp; See Tex. R. App. P. 25.2(d). &nbsp;The record supports the
trial court’s certification. See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Panel consists of Justices
Frost, Boyce, and Sullivan. 

Do Not Publish C Tex. R. App. P. 47.2(b).





